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                      Exhibit A
00398360.1
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                        Civil Case Information Statement
Case Details: MIDDLESEX | Civil Part Docket# L-000337-22

Case Caption: KHOUZAM NADAH VS DESIGNER                          Case Type: PERSONAL INJURY
BRANDS, INC .                                                    Document Type: Complaint with Jury Demand
Case Initiation Date: 01/20/2022                                 Jury Demand: YES - 6 JURORS
Attorney Name: SALVATORE IMBORNONE JR                            Is this a professional malpractice case? NO
Firm Name: MC HUGH & IMBORNONE, PA                               Related cases pending: NO
Address: 29 COLUMBIA TURNPIKE STE 101                            If yes, list docket numbers:
FLORHAM PARK NJ 07932                                            Do you anticipate adding any parties (arising out of same
Phone: 9739661520                                                transaction or occurrence)? NO
Name of Party: PLAINTIFF : KHOUZAM, NADAH
Name of Defendant’s Primary Insurance Company                    Are sexual abuse claims alleged by: NADAH KHOUZAM? NO

(if known): Unknown



      THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                      CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




Do parties have a current, past, or recurrent relationship? NO
If yes, is that relationship:
Does the statute governing this case provide for payment of fees by the losing party? NO
Use this space to alert the court to any special case characteristics that may warrant individual
management or accelerated disposition:


Do you or your client need any disability accommodations? NO
       If yes, please identify the requested accommodation:


Will an interpreter be needed? NO
         If yes, for what language:


Please check off each applicable category: Putative Class Action? NO Title 59? NO Consumer Fraud? NO




I certify that confidential personal identifiers have been redacted from documents now submitted to the
court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

01/20/2022                                                                             /s/ SALVATORE IMBORNONE JR
Dated                                                                                                       Signed
